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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 12-cv-21917-UNGARO

    SECURITIES AND EXCHANGE COMMISSION,

             Plaintiff,

   v.

   GEORGE G. LEVIN and
   FRANK PREVE,

            Defendants.

   ---------------------------------------------------------------------------'
                                   AMENDED FINAL JUDGMENT AGAINST
                                      DEFENDANT GEORGE LEVIN

             Plaintiff Securities and Exchange Commission commenced this action by filing its

   Complaint against, among others, Defendant George Levin.                       In its Amended Complaint, the

   Commission sought, among other relief against Levin: (1) a permanent injunction to prohibit

   violations of Sections 5(a), 5(c), and 17(a) ofthe Securities Act of 1933 ("Securities Act") [15

   U.S.C. § 77e(a), 77e(c), and 77q(a)], and Section 10(b) and Rule 10b-5 of the Securities

   Exchange Act of 1934 ("Exchange Act") [15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5]; (2)

   disgorgement and prejudgment interest; and (3) a civil money penalty pursuant to Section 21A of

   the Exchange Act            [15 U.S.C. § 78u-1] and Section 20(d) of the Securities Act [15 U.S.C.

   § 77t(d)].

            The Complaint alleges Levin engaged in an unregistered securities offering through Banyon

    1030-32, LLC ("Banyon") and engaged in securities fraud through Banyon and Banyon Income

   Fund [DE 86]. In October 2014, the Court entered a Summary Judgment Order finding Levin liable

   for violations of Section 5 of the Securities Act [DE 220]. On April 1, 2015, a jury found Levin

   violated Section 17(a) of the Securities Act and Section 10(b) and Rule 10b-5 of the Exchange Act,
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    and aided and abetted the Banyon entities' violations of Section 1O(b) and Rule 1Ob-5 of the

    Exchange Act [DE 294]. On July 31, 2015, the Court entered a Final Judgment against Levin [DE

    320].

             Levin appealed the Final Judgment, and the Eleventh Circuit Court of Appeals reversed the

    Summary Judgment Order that Levin violated Section 5 of the Securities Act and remanded that

    issue to this Court for further proceedings [DE 349].       The Eleventh Circuit affirmed the Final

    Judgment on all remaining issues Levin raised, including those concerning the trial and jury verdict

    against him. /d.

             On June 23, 2017, the Commission filed a notice that it wishes to voluntarily dismiss the

    Section 5 claim against Levin. As a result, the Final Judgment is hereby amended to remove the

    injunction prohibiting violations of Section 5 of the Securities Act, and to remove the $13,000 civil

    penalty imposed for that violation.

                                                          I.

                                    SECTION 5 OF THE SECURITIES ACT

            IT IS ORDERED AND ADJUDGED that pursuant to the Commission's notice of dismissal

   of the Section 5 claim, the Section 5 claim against Levin is hereby dismissed.

                                                          II.

                                  SECTION 17(a) OF THE SECURITIES ACT

            IT IS FURTHER ORDERED AND ADJUDGED that Levin, his agents, servants,

   employees, attorneys, and representatives, and all persons in active concert or participation with them,

   who receive actual notice of this Final Judgment by personal service or otherwise are permanently

   restrained and enjoined from violating Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)] in the

   offer or sale of any security by the use of any means or instruments of transportation or

   communication in interstate commerce or by use of the mails, directly or indirectly, to:
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                   (a)      employ any device, scheme, or artifice to defraud;

                  (b)       obtain money or property by means of any untrue statement of a material fact

                  or any omission of a material fact necessary in order to make the statements made, in

                  light of the circumstances under which they were made, not misleading; or

                  (c)       engage in any transaction, practice, or course of business which operates or

                  would operate as a fraud or deceit upon the purchaser

   by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person, or (ii)

   disseminating false or misleading documents, materials, or information or making, either orally or in

   writing, any false or misleading statement in any communication with any investor or prospective

   investor either relating to a decision by an investor or prospective investor to buy or sell securities of

   any company or about:

                            (a) any investment in or offering of securities or

                            (b) the prospects for success of any product or company.

                                                            III.

                         SECTION lO(B) AND RULE 10b-5(b) OF THE EXCHANGE ACT

          IT IS FURTHER ORDERED AND ADJUDGED that Levin, his agents, servants,

   employees, attorneys, and representatives, and all persons in active concert or participation with them,

   who receive actual notice of this Final Judgment by personal service or otherwise are permanently

   restrained and enjoined from engaging, directly or indirectly, in any violation of Section 1O(b) of the

   Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(b) promulgated thereunder [17 C.F.R. § 240.10b-

   5], by using any means or instrumentality of interstate commerce, or of the mails or of any facility of

   any national securities exchange, in connection with the purchase or sale of any security:

          (a)     to employ any device, scheme, or artifice to defraud;


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          (b)     to make any untrue statement of a material fact or to omit to state a material fact

   necessary in order to make the statements made, in the light of the circumstances under which they

   were made, not misleading by, directly or indirectly by: (i) creating a false appearance or otherwise

   deceiving any person, or (ii) disseminating false or misleading documents, materials, or information or

  making, either orally or in writing, any false or misleading statement in any communication with any

  investor or prospective investor either relating to a decision by an investor or prospective investor to

  buy or sell securities of any company or about:

                          (a) any investment in or offering of securities or

                          (b) the prospects for success of any product or company.

                                                     IV.

                  AIDING AND ABETTING VIOLATIONS OF EXCHANGE ACT
                            SECTION lO(b) AND RULE 10b-5(b)

          IT IS FURTHER ORDERED AND ADJUDGED that Levin, his agents, servants,

  employees, attorneys, and representatives, and all persons in active concert or participation with them,

  who receive actual notice of this Final Judgment by personal service or otherwise are permanently

  restrained and enjoined from violating, directly or indirectly, Exchange Act Section 1O(b), [ 15 U.S.C.

  § 78j(b)], and Rule 10b-5(b), [17 C.F.R. § 240.10b-5(b)], by using any means or instrumentality of

  interstate commerce, or of the mails, or of any facility of any national securities exchange, in

  connection with the purchase or sale of any security to knowingly provide substantial assistance to

  another in making any untrue statement of a material fact or omitting to state a material fact necessary

  in order to make the statements made, in the light of the circumstances under which they were made,

  not misleading, by directly or indirectly: creating a false appearance or otherwise deceiving any

  person, or disseminating false or misleading documents, materials, or information or making, either

  orally or in writing, any false or misleading statement in any communication with any investor or

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   prospective investor either relating to a decision by an investor or prospective investor to buy or sell

   securities of any company or about:

          (a) any investment in or offering of securities or

          (b) the prospects for success of any product or company.

                                                     v.
            DISGORGEMENT. PBEJUDGMENT INIEBEST. AND CIYIL PENALTY

           IT IS ORDERED AND ADJUDGED that as set forth in this Court's July 31, 2015

    Order [DE 320], Levin is liable for $40.1 million in disgorgement and $7,829,570.97 in

    prejudgment interest thereon, as well as a $650,000 civil penalty for his violations of the

    anti-fraud provisions of the Securities Act and Exchange Act.

           Thus, Levin has been and remains liable for 40.1 million in disgorgement, $7,829,570.97

    in prejudgment interest thereon, and $663,000 in civil penalties for a total of $48,579,570.97,

    which, pursuant to this Court's July 31,2015 Order [DE 320], Levin was and remains required to

    pay within fourteen (14) days of that Order.

           As set forth in the July 31, 2015 Order, Levin may transmit payment electronically to the

    Commission, which will provide detailed ACH transfer/Fedwire instructions upon request.

    Payment may also be made directly from a          bank      account      VIa     Pay.gov      through

    the     SEC       website       at http://www.sec.gov/about/offices/ofm.htm.       Levin may also

    pay by certified check, bank cashier's check, or United States postal money order payable

    to the Securities and Exchange Commission, which shall be delivered or mailed to

           Enterprise Services Center
           Accounts Receivable Branch
           6500 South MacArthur Boulevard
           Oklahoma City, OK 73169

    and shall be accompanied by a letter identifying the case title, civil action number, and name of
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   this Court; Levin's name as a defendant in this action; and specifying that payment is made

   pursuant to this Final Judgment.

          Levin shall simultaneously transmit photocopies of evidence of payment and case

   identifying information to the Commission's counsel in this action, Arnie Riggle Berlin, Esq.,

   801 Brickell Avenue, Suite 1800, Miami, FL               33131.     By making this payment, Levin

   relinquishes all legal and equitable right, title, and interest in such funds and no part of the funds

   shall be returned to Levin.

          The Commission may enforce the Court's judgment for disgorgement and prejudgment

   interest by moving for civil contempt (and/or through other collection procedures authorized by

   law) at any time since more than 14 days have passed since the Final Judgment was entered

   against Levin. Levin shall pay post judgment interest on any delinquent amounts pursuant to 28

   U.S.C. § 1961.

          The Commission may propose a plan to distribute the funds subject to the Court's

   approval. Such a plan may provide that the funds shall be distributed pursuant to the Fair Fund

   provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002.              The Court shall retain

   jurisdiction over the administration of any distribution of the Fund.       If the Commission staff

   determines that the funds will not be distributed, the Commission shall send the funds paid

   pursuant to this Final Judgment to the United States Treasury.

          Notwithstanding any provision contained herein, no effort will be taken to collect the

   judgment except in accordance with the Bankruptcy Code and Rules for so long as an automatic

   stay is in effect in Levin's pending bankruptcy case, Case No. 10-33696 (Bankr. S.D. Fla.).




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                                                   VI.

                                 RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED AND ADJUDGED that this Court shall retain

   jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                                  VII.

                              CERTIFICATION UNDER RULE 54Cb)

          There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

   Procedure, the Clerk is ordered to enter this Final Judgment fi         and without further notice.

          DONE AND ORDERED this               k ~ day of _-tp,.~~~----· 2017 at
   Miami, Florida.




   Copies to all counsel of record
                                                         ~
                                                         UNITED STATES DISTRICT JUDGE




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